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UNITED STATES DISTRICT COURT
SOUTHERi~' DISTRICT OF NEW YORK

JANE DOE,                                                                        18-CV-1769 (ER)

         Plaintiff, v.


SOLERA CAPITAL LLC and MOLLY
ASHBY, jointly and severally,

         Defendants.
-------------------------------------------------------------x




    JANE DOE'S MEI~IORANDU~I OF LA~~' IN StiPPORT OF MOTION FOR
RECONSIDERATION` OF THE COURT'S DENIAL OF HER 110TION TO CO~rTINUE
                    TO PROCEED ANONYMOUSLY




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                                               INTRODUCTION

        Plaintiff Jane Doe moves this Court pursuant to Rule 6.3 of the local rules of the Southern

District of New York, to reconsider its ruling of March 31, 2019 denying Plaintiff's Motion to

Continue to Proceed Under a Pseudon3~m. Plaintiff respectfully submits newly a~~ailable

evidence that plaintiff contends should be dispositive of the issue presented. That is, Jane Doe has

Secured an affidavit from her treating therapist. This affidavit, which plaintiff seeks to file under

seal as Exhibit A provides the Court ~~~ith a graphic description of the abuse she sltffered, ~~~hich

supports riot only the diagnosis of Post- Traumatic Stress Disorder, but also underscores the her-

rational fears of having to proceed under her changed Hanle as «ell as the psychological i►~lpact of

the Court's ruling. Gi~~en this ne~~~ly available e~~idence, the court ❑eed not speculate on the

c~ue~tion of harm to Doe. As such a different result is warranted.

        F~Irthzr with respect to the balancing test, Jane Doe sub~llits the it ~~~a5 clear error to (1)

o~~erlook the facts applicable to the fiat factor in Holding that the `'subject matter of the litigatiol~'

~c~as separate and apart from the "highly sensiti~~e and personal nat~u-e" of Jane Doe's status as a

donle~tic ~•iolence ~~ictim; indeed her protected status is at the heart of this litiQ~ltion and forms the

basis of one of discrimination claims; (2) fail to ~veiah, rather than tally, the factors applicable to

the questions of proceeding anonymously; (3) count inapplicable factors against Doe, when they'

should have had neutral ~~~ei~ht; and crucially (4) that ~~~here there is a corroborated threat of third

party harm, supported by an affida~~it, to find that the other factors could outc~~eiah such a harm.

Si~ice the nn~zo~uicernent of tl~e fnctor~ iti•hirh coi~si~lers 11ar~~ri from a third pnr-t~~, this co~u-t tii~ill be

the ojil~~ co~u~t to defil' n ~~etitiotier the j~iglit to pj-oceecl ario~i~~r~zo«sl~~ iii the presence of s~icll h~ij~tri.

This is cle~r~- e~~r-or ~rnd ti•o~rld i-es~rlt i~z frtcrflifest i~ij~~stice to Jade Doe.




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       Finally, the court committed clear error by citing to authority that was changed on a second

appeal, or which address the quesCion of balancing before the announcement of the third party

harm doctrine.

       In sum, the Court has approached the balancing test in a manner that fails to Qet to the heart

of the matter. ("The central inquiry in determining ~vhethei~ a plaintiff may proceed

pseudonymously is a balancing of a 'plaintiff's interest in anonymity . . .against both the public

interest in disclosure and any prejudice to the defendant."') (quoting Secrlecl Plaintiff; 537 F.3d at

189). In applying the balancing test formulaically, the court misses the spirit of the test and the

underlying competing concerns animating the test. Here compelling pri~~acy concerns and the

threat of a third patty harm have been articulated, and supported by' e~~idence, but the Court, by

c~~hat appears to be eiQid arithmetic, fails to appreciate that the ~ra~~ity of the privacy and protection

interest. She submits these facts sho~~td be deenizd sufficient to proceed anon}rmously, as it has

been deemed in e~~ery other case to consider such facts regarding harm to petitioner.

        Plaintiff submits that these errors warrant reconsideration of this Cou►~t's order, especiall}~

~7i~~en the implications of such order for' Jane Doe. Gi~•en the arQurnents made herein and evidence

attached hereto, Jane Doe belie~~es a different outcome is warranted. For these reasons and the

reasons described more fully' below, Doe respectfully requests that this Court reconsider and

reverse its ruling on Jane Doe's motion to continl~e to proceed under pseudonym.

                                            LEGAL STA1~'DARD

        Local Ci~~il Rule 6.3 provides that a party moving for reconsideration must set forth "the

matters or controlling decisions «~hich counsel belie~~es the Co~irt has overlooked."

        The      standard    for    reconsideration      under     Local     Rule     6.3    is    "strict,

and reconsideration ceill generally be denied unless a mo~~ing party can point to matters that "might
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reasonably be expected to alter the conclusion reached by the court." Iia re CRM Holdi~~gs, Ltd.

Sec. Litig., (S.D.N.Y. March 4, 2013) U.S. Dist. LEXIS 30116: Reconsideration may be granted

becatue of "an intervening chance of controlling later, the availability of new evidence, or the need

to correct a clear error or prevent manifest injustice." Lul~ n' C«~-e Lt~l. ~~. Goldberg Cohen, LLP,

2016 U.S. Dist. LEXIS 162901, 2016 w'L 682075, at '1 (S,D.N.Y. Nov. 10, 2016) (internal

quotation marks omitted) (quoting Holl~rnder v. Mef~iUc~r~s of t{ie Bd. of Regents, X24 F. App'x 727,

729 (2d Cir. 2013) (summary order).

         Here, the court's denial Jane Doe's motion to continue to proceed undei- pseudonyri~ clearly

meets the standard for re~~ersal on reconsideration.

                                                ~RGUi~1ENT

    I.      i~E~VLY A`'AILAI3LI? E`'IDE\CI I31' ,TA\~L DOE'S TREATI\G THERf~PIST
            «'ARRAtiTS A\ OUTCOl1E IN .TANF DOE'S FAVOR

         With respect to the seco~ld factor lane Doe has here attached ne«~1}~ a~~ailable e~~idence in

the form of an affida~~it f~roTi~ her treatin« therapist Dr. Allison Ross, of Sanctuary for Fa~l~ilies.

The Court in its decision on the motion ackno~vledae, tflat "The risk of psychological inj~~ry~

stemming from identification is a cognizable harm that can serve as ~l legitimate basis tor'

proceeding anonymously." (Opinion p. 8). Ho~~~e~~er, the co~irt declined to "speculate regarding

the `'the nature, level or intensity of Jane Doe's illental injury in the absence of medical

corroboration."

         That is, the court recognized the sufficiency of this factor «~ith respect to proceeding under

pseudonym, as was recognized in Doe ~~ S~riith, 10~ F. Supp.2d X10. (EDNY 1999). Gi~~en the Dr.

Ross Affida~~iC howe~°er, the court need not speculate.

         In light of this new evidence a different determination on the motion is «~arranted just as

it vas in Doe ~~. Sr~iitli, where the court permitted Doe to contin~le to proceed anon5tmously after


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the submission of medical corroboration on Motion for Reconsideration. Plaintiff ~~ill ask that Dr.

Ross's Affidavit be filed under seal, as it contains highly specific information about the severity

of plaintiff's abuse as ~~~ell as personal and confidential medical information abouC Jane Doe's

physical and psychological condition especially since the Court's ruling.                  This specific

information in the affidavit needs to be under seal as it could lead to plaintiff's identification if

seen or heard about 151 her abuser. Further it contains highly personal and confidential medical

information rele~~ant to the question at issue on reconsidez-ation. ~~'ith this submission the instant

case is on all fours ~~~ith Doe i~. S~rritli and a similar result is warranted.

         ~~'hile "no one factor is dispositive", if the Col~rt re~~erses in light of this ne~~ly available

evidence it wo~lld be the first court to do so, in the presence of corroborated psychological harm

and third party harm to petitioner. Gi~~en the gravity of the statements contained in the D►~. Ross

Affida~~it Jane Doe respectfully requests that tl~e Court reconsider and reverse its prior decision.

    IL       THE COURT CO~~I~~IITTED CLEAR ERROR IN ~'~'EIGHI:~G `THE FIRST
             FACTOR AGAINST JAI~'E DOE

The Court also commiteed a clear error in ~~~e.iahin~ the first factor in the balancing test against

Jane Doe. In considering ~tihether the "litigation im~ol~~es matters that are highly sensiti~~e and of

a personal nature" Seated Plaintiff' ~~. Sealed Defendant, 537 F.3d 185(24 Cir. 2008) the Court

acknowledges that Doe's personal experience as a DV ~~ictim are highly sensitive and personal.

Ho~~~e~er, in finding against Doe, the court artificially di~~orced the "subject matter'' of the

litigation from Doe's highly personal and sensitive status. Indeed, the court overlooked the degree

to which the t~~~o are intert~~rined. Doe's status as a domestic violence victim is directly at iss~le in

this case and is an element of her I~~YCHRL discrimination claim that she rugs subjected to

discrimination and harassment due to her protected status as a DV victim.




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   Given the DV-related claim there can be no distinction between her "personal experience as a

DV victim" c~~hich the court admits is highly sensitive, and the subject matter of the litigation,

~~hich the court has held is not highly personal. Given the nature of the claims this distinction

cannot hold, and this factor should «neigh in Doe°s favor.


   III.      THE COURT COMi~7ITTED CLEAR ERROR ~'OT FINDIti'G FOR DOE ON
             THE BASIS OF CORROBORATED THIRD PARTY HARiV1 ALOE.

In its analysis of the second factor the court acknowledges that "Doe seeks to avoid actual physical

and mental harm, not mere eilzbar►-assment, social stigmatization and economic injul-y." Further,

the Court finds "harm tc~ do~i~estic violence ~~ictims as the rele~~ant type of h~~i-m th~lt the second

facror seeks to address." Ho~~~e~~er, in making such determination, the Court does not go far enough

in considering the «~ei~ht of this factor. Rather tl~e Co~u-t counts it as merely one of ten, rather than

affording it its proper and o~~erridina import.

          Tl~e Coiu~t reeo~nizes, chin; ,Sh~rk~n-, that `'a plaintiff's allegation that she has been

subjected to death threats «•ould provide a legitimate basis for allo«~ina her to proceed

anonyluously." The court further found, based on Doe's affida~~it, that "Doe states she fears harm

from her former abuser, ~~~hich is cognizable as a basis fol- proceeding anony~mousl5~."


    That is, it is not a factor in fa~~or of proceeding anonymousl}~, but a basis. The Court doss not

allo~c the full implication of its determination that Plaintiff has credibly alleged third party harm

should she not be permitted to proceed anonymously. In Sli~rkl«-, the Court did not permit petitioner'

 to proceed anonymously because anyr protection to her from proceeding anonymously ~~~ould be

 moot, as her identity «~as already kno«~n to the third party' who c~~ould do her harm. In Shrrk~~r-, the

 court discussed third party as a "basis" for proceeding anonymously: that it is independent and

 sufficient grounds ~~~here the identity of the person is not already kno~~n. Thus, the Court here


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sho~ild have found the allegations of third party harm--where Doe's identity in this case is not

known to her abuser-to be sufficient to permit her to proceed anonymously. In failing to so hold,

the court fails to weigh the ~ra~~ity of this factor and departs from precedent within this circuit

regarding the dispositi~~e nature of corroborated third party harm to anonymous petitioners ~~~hose

identity is unknown to such third parties. Accordingly, on this basis alone, Jane Doe respectfully

requests that the Court reconsider its decision.


   I~r.       THE COURT CO~'IIZITTED CLEAR ERROR ~'~'EIGHII~~G I1~' APPLICABLE
              FACTORS RATHER THAI' CONSIDERING THE11 l~'EUTRAL—AND THUS
              «'TIGHING FACTORS THREE ~1ND FOUR AGAIi~`ST JANE DOE

   Looking to factors three and four, i-especti~ely:

          (3) whether identification presents other harms and the likely se~~el-ityr of those h~irms,
              including «=hether the injure litigated against would be incurred as a result of the
              disclosw-e of the plaintift~'s identity;   and
          (4) whether the plaintiff is partic~ilarly ~~u(nerable to the possible harms of
              disclosure, particularly in light of his ale; Sealc~cl Plni~itiff ~~. Sealed Defen~l~r~it, 537
              F.3d 18~, 190 (2d Cir. 2008),

the Court ~vei~hed these factors against Plaintiff ~~~hen in the absence of such facrors, the Court

should have deemed such factors ne~itra(, rather than «~ei4hina against Doe, and thus supporting

the countervailing interests.

          Again, the central inquiry in determining ~~~hether a plaintiff ma5~ proceed pseudonymously

is a balancing of a "plaintiff's interest in anonymity . . .against both the public interest in disclosure

and any prejudice to the defendant." Sealed Plaintiff, 537 F.3d at 189.

          The Se~iled Plaintiff multifactor test then lists non-exhausti~~e factors going to each of these

three prongs of the articulated purpose. Where any ~i~~en factor is irrelevant or not factually

applicable (as the test draws from carious fact-specific cases), then that factor does riot strengthen

the relevant prong. That is not to say however, that it strengthens the competing inCerest. Stated



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differently, that plaintiff may have one strong interest in anonyr~lity but not another, the factor

~~~hich is ~~eaker does not decrease the strength of the present or applicable interest in anonymity;

nor does it strengthen the countervailing interest. It is simply not relevant.

        Here the court weighed factor's three and four against Doe because she is not seeking

injunction as the basis of her case nor- is she a minor. These factors are both exemplars of a strong

interest in anonymity. Doe, however, does ha~~e a eery strong interest in anonymity based on harm,

and the absence of these other exemplars in facrol-s three and four should not effectivel~~ cancel

out the strepath of the harm against Doe as relev~lnt to her interest in anonyrl~it_y~.

        Here in ~~~ei~hing factors three and fo~~r against Doe rather than finding them neutral, the

Court places its thumb on the scale and holds that the absence of these factual scenarios cancels

tt~e articul~lted pri~~ac5~ interest and strengthens the co~~nter~~ailin~~ interests in `'public interest in

disclosure and an}' prejudice to the defendant." This is a clear er►~or, a~ these f~ictors do not a~ to

either counter~~ailin~ intel-e;t, but rather onl~~ probe tl~e pi-esellce of a particular variet}~ of

anonyrility Interest.

Stated differently, the factors in Sealed PlnintiJf~m~ly be categorized as follows

        (1) `'«~hether the litigation invol~~es matters that a~-e highly sensiti~~e and of a personal
            natl~re": rele~~a~rt to st~~e~rgtheited j~lninti~f's i~iter-est i~r mioiz~'t~iit~~,

        (2 j "~~~hether identification poses a risk of retaliatory physical or mental harm to thz party
             seeking to proceed anon~~mously or even more critically, to innocent non-parties":
             ~-elei~a~it to stf-eiigthe~ied plaintiff's interest in nnori~~~riit~~.

        (3) "whether identification presents other harms and the likely se~~erity of those harms,
            including ~~~hether the injury litigated against would be incurred as a result of [he
            disclosure of the plaintiffs identity": r-ele~~~rnt to strerigt{1e~1ed plciintiff's intet-est in
             nnonl'ntih'.

        (4) "whether the plaintiff is particularly vulnerable to the possible harms of disclosure,
            particularly in light of his aye;": relei~arit to str-erigtlierzed pl~riiztiff's ifiterest iri
            ario~il~frtin.



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       (5) "whether the suit is challenging the actions of the government or that of private
           parties;": relet~a~tt to strengtliertecl public ijatef-est i~t disclosure.


       (6) "~~~hether the defendant is prejudiced by allowing the plaintiff to press his claims
           anonymously, whether- the nature of that prejudice (if any) differs at any particular
           stage of the litigation, and whether any prejudice can be mitigated by the disCrict
           court;": relevcr~Tt to strengtlie~ied pr-ejtrclice to the deferzd~int.

       (7) "whether the plaintiffs identity has thus far been kept confidential;" if so, strengthe~is
            ~7IQ111l1~~S lilf2i'2Sl !J1 (111O71)'illlt)'; tf Yt01 tt'C'Q~G'7lS ~)1CZl11tl~~S lilt~j'~Sl 11l L112071}'7f11I)'


       (8) "~~~hether the public's interest in the litigation is furthered by req~iirina the plaintiff to
           disclose his identity;'' j-elel~~int to st~-engtlzened public interest irl disclosure.

        (9) "whether because of the purely legal nat~ire of the issues presented or' otherwise, there
            is an atypically weak public interest in kno~c~in~ the litigants' identities; t-elei~cnit to
            ~reak~necl pu/~lic intey~e,st i~l ~lisclos~u-e.

        (10)      "whether there are anyt alternative mechanisms for protecting the confidentiality of
               the plaintiff.


To dei~lonstrrlte tt~e deleterious effect of applying the test as the Court has done, take for example

~i case where a minor seeks to proceed anonymously, but that minor does I~ot allege physical or

psychological }larm from proceeding «~ithout anonymity. Should inapplicable factors relevant to

the interest in anony~lility count against a petition, the hypothetical minor's ~~rivacy intet~est ~i~ould

be effecti~~ely cancelled out by the fact that she does not satisfy prom two. This is clearly

inconsistent ~;~ith the articulated pul-pose of Se~rlecl Plai~itiff and the piu-pose. of the test.

        In seeking to enumerate specific examples of persons with a heightened anonymity or

privacy interest, the test, if applied as done here by the Court, ~i~ould effeeti~~ely protect no

vulnerable persons unless theyr fell into numerous categories. For every factor in favor of a petition

due to some vulnerability, Che absence of some other vulnerability would be held against there,

~~~ith the effect of lea~ina them unprotected.
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          For the reasons articulated above, factors three and four shoLzld be neutral as to Doe and

the court should reverse its decision on this basis.

    ~'.        THE REASO\ING AS TO FACTORS THREE AND FOUR IS APPLICABLE
               TO FACTOR FIVE, WHICH SHOULD BE i~'EUTRAL


          The rationale applicable to factors three and four relevant to the Plaintiff's anonymity

interest, is also applicable to factor five. Where a suit is challenaina the actions of the ~ovei-nment

there is a heightened interest in public disclosure. Here there is no such heightened public

disclosure interest and thus this factor should be neutral That the case does not challenge

Qo~~ernment action should not ~~~ea~en the Plaintiff's ~inonymity~ interest—it rather is simply

irrelev~ln~. As «~eighed here ho~~~ever the Court effectively nullifies the harm prom by' the fact

lh~1t 1h1S IS ~i Slllt il~.?~ll[1SC ~i pCll'21Ce ~~t1fL~'. l~Q~llCI, fOf [he CZ~1SOLlS £tC[ICll~~lt~C~ ~i~0V'e [Ells 1S 1[1COC1SlSteill


~~~ith the core concerns of the multifaclor test.

     VL        'THE COURT APPLIED THL INCORRFC"I' STANDARD TO THE ISSUE OF
               1'HE «'FIGHT OIL Pt'BLIC ACCESS I3I' CITI\'G TO ~t~`IOD~O I

In its statement of the standard applicably to the ~~~eight of p~~blic access, the eo~lrt cites United

States l~. Ar~t~~clea, 44 F.3d 141, 145, 1991 V.S. App. LEXIS 110, '10, 148 L.R.R.vI, 2226, 23

VTedia L. Rep. 1205 (~modeo I) for the proposition that access is "fundamental." Ho~~~e~~er that

case does not reflect the current State of the la«~, the approach to the issue of public access ha~~inQ

been subject to a further articulation b5~ the carne Second Circuit Later that year in U~iite~l States ~~.

Aniodeo, 71 F.3d 1044, 10=8, 1995 U.S. App. LEXIS 34760, 'S-6, 24 Media L. Rep. 1203.

(~rfiodeo 11). In A~riocleo II, the Second Circuit discussed the public access to judicial documents

as comprised of ~~aryina ~~ei~ht stating:


          Courts have Qi~~en various descriptions of the c~~eiaht to be liven ro the presumption of
          access, ranking from an "especially stron¢" pres~imption requiring "extraordinary
          circumstances to justify restrictions," United St~rtes v. M~~e~-s (I~z r-e Nnt'1 Brondcastifag

                                                                  G]
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        Co.), 635 F.2d 945, 952 (2d Cir. 19$0), to merely "orze of the interests" that may bow
        before [*'6] "good reasons" to deny the requested access. Belo B~-o~rdcasting Core. v.
        Clark, 654 F.2d 423, 434 (5th Cir. Unit A 1981).

Thus, the Second Circuit has acknowledged that the public interest in disclosure of judicial

documents has various weights and different degrees of public interest which mast be weighed

before doc~~ments are subject to discloslu~e.

        Analogously, if a purpose of Rule 10(a) is that ehe parties' identities should generally be

kno~~~n, w-hat is the degree of the public interest in knowing plaintiff's changed name? Plaintiff

submits that there is little to no interest in the pl~blic being made aware of plaintiff's changed name.

Although it is hei- legal naille, t11e defendants cannot point to a countervailing mason for the p~iblic

ro know plaintiff's changed name for her to proceed.

                                                CONCLUSIOti~

        Fol~ the f'oreaoin~ reasons, Pl~iintifi' requests this Court reconsider its decision to deny Jane

Doe's iz~otion to continue to proceed under pseudon}rm. Jane Doe f~lrther requests that if it is this

Court opinion that placing the case entirely under seal ~~~ould a~~oid reputational harrn to

Defendants while protecting Jane Doe from third party harm, Jane Doe is amenable to such ~~

modification of the Court's Order, should it not see Fit to ~r~int reconsideration

                                        Respectfully submitted,

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                                                     ~.
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